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UNlTED STATES OF AN|ERICA,

 

P|aintiff,

VS.
CFi. NO. 04-20340-B

|V||CKLE BUFOHD,

Detendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYlNG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on duly 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a
report date of Nlonday, Auqust 29, 2005. at 9:30 a.m.. in Courtroom 1. 11th Floor of the
Federa| Buiiding, |Vlemphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need foar( a spe dy trial.
lT lS SO ORDERED this l day w%%.

 

. D NIEL BF{EEN
UNl ED STATES DiSTRlC JUDGE

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UNITED sTATE D"ISIC COUR - WESTERN D'S'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-20340 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

